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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



MELISSA CARSON, individually
and on behalf of all others similarly
situated,

       Plaintiff,                                  Civil Action No. 1:21-cv-04715-
                                                                TWT
       v.

THE HOME DEPOT, INC.,

       Defendant.

 DEFENDANT THE HOME DEPOT, INC.’S CORRECTED MOTION TO
 COMPEL ARBITRATION OR, IN THE ALTERNATIVE, TO DISMISS
   PLAINTIFF’S FIRST AMENDED CLASS ACTION COMPLAINT

      Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant

The Home Depot, Inc. (“Home Depot”) hereby moves to compel the submission of

Plaintiff’s claim to arbitration or, in the alternative, dismiss Plaintiff’s First

Amended Complaint for failure to state a claim upon which relief may be granted.

For the reasons set forth in the accompanying memorandum of law, Home Depot

respectfully requests that the Court grant its motion and enter an order compelling

bilateral arbitration or, in the alternative, dismiss Plaintiff’s Class Action Complaint

with prejudice.

      Respectfully submitted this 1st day of February, 2022.


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                              /s/ S. Stewart Haskins II

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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 1, 2022, I submitted the foregoing

document with the clerk of court for the U.S. District Court, Northern District of

Georgia, using the electronic case filing system of the court.


                                              KING & SPALDING LLP


                                              /s/ S. Stewart Haskins II
                                              S. Stewart Haskins II




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